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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

  CHRISTOPHER GRONIK, on
  behalf of himself and on behalf
  of all others similarly situated,

        Plaintiff,

  v.                                    CASE NO.:

  THE BRIAR TEAM, LLC,

      Defendant.
  ________________________/

             COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, CHRISTOPHER GRONIK (“Plaintiff”), by and through

  undersigned counsel, on behalf of himself and on behalf of all others

  similarly situated, brings this action against Defendant, THE BRIAR

  TEAM, LLC (“Defendant”), and in support of his claims states as follows:

                        JURISDICTION AND VENUE

        1.     This is an action for damages under the Fair Labor Standards

  Act (“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages

  under 29 U.S.C. § 215(a)(3). This Complaint is filed as a collective action

  under 29 U.S.C. § 216(b).

        2.     This Court has subject matter jurisdiction under 28 U.S.C. §

  1331 and 29 U.S.C. § 201 et seq.
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        3.       Venue is proper in the Middle District of Florida, because all of

  the events giving rise to these claims occurred in Seminole County, Florida.

                                       PARTIES

        4.       Plaintiff is a resident of Volusia County, Florida.

        5.       Defendant operates a general contracting business in Sanford,

  Seminole County, Florida.

                            GENERAL ALLEGATIONS

        6.       Plaintiff has satisfied all conditions precedent, or they have

  been waived.

        7.       Plaintiff has hired the undersigned attorneys and agreed to

  pay them a fee.

        8.       Plaintiff requests a jury trial for all issues so triable.

        9.       At all times material hereto, Named Plaintiff was employed by

  Defendant as an Instrument Man.

        10.      The putative class of similarly situated employees consists of

  all other laborers employed by Defendant within the last three years. These

  similarly situated persons will be referred to as “Members of the Class” or

  “the Class.”

        11.      At all times material hereto, Plaintiff and Members of the

  Class were “engaged in the production of goods” for commerce within the




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  meaning of Sections 6 and 7 of the FLSA, and as such were subject to the

  individual coverage of the FLSA.

        12.      At all times material hereto, Plaintiff and Members of the

  Class were “employees” of Defendant within the meaning of the FLSA.

        13.      At all times material hereto, Defendant was an “employer”

  within the meaning of the FLSA, 29 U.S.C. § 203(d).

        14.      Defendant continues to be an “employer” within the meaning

  of the FLSA.

        15.      At all times material hereto, Defendant was and continues to

  be an enterprise covered by the FLSA, as defined under 29 U.S.C. §§ 203(r)

  and 203(s).

        16.      At all times relevant to this action, Defendant engaged in

  interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(s).

        17.      At all times relevant to this action, the annual gross sales

  volume of Defendant exceeded $500,000 per year.

        18.      At all times material hereto, the work performed by Plaintiff

  and Members of the Class was directly essential to the business performed

  by Defendant.




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                                    FACTS

        19.   Named Plaintiff CHRISTOPHER GRONIK began working for

  Defendant as an Instrument Man in January 2017, and he worked in this

  capacity until March 5, 2021.

        20.   At various times material hereto, Plaintiff and the Class

  worked hours in excess of forty (40) hours within a workweek for

  Defendant, and they were entitled to be compensated for these overtime

  hours at a rate equal to one and one-half times their individual regular

  hourly rates.

        21.   Defendant failed to pay Plaintiff and Members of the Class an

  overtime premium for all of the overtime hours that they worked, in

  violation of the FLSA.

        22.   Throughout Plaintiff’s entire tenure with Defendant, he and

  the Class, would be required to arrive at the yard at 6 AM to stock the work

  trucks and ensure they had gas, water, and the proper equipment. This was

  required between two and five days per week, depending on the projects to

  which Plaintiff and the Class were assigned.

        23.   Plaintiff would also be required to drive his supervisor to the

  yard on occasion.

        24.   Plaintiff and the Class were not compensated at all for this

  time and were not considered to be working until 7 AM.


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          25.   All of the unpaid hours were in excess of forty (40) hours in a

  workweek and as such, must be paid at the overtime premium required by

  the FLSA.

          26.   By failing to accurately record, report, and/or preserve records

  of hours worked by Plaintiff and Members of the Class, Defendant has

  failed to make, keep, and preserve records with respect to each of its

  employees in a manner sufficient to determine their wages, hours, and

  other conditions of employment, including Defendant’s employment

  practices, in violation of the FLSA, 29 U.S.C. § 201 et seq.

          27.   Defendant’s actions were willful, and showed reckless

  disregard for the provisions of the FLSA.

                  COLLECTIVE ACTION ALLEGATIONS

          28.   Plaintiff brings this case as an “opt-in” collective action on

  behalf of similarly situated employees of Defendant (the “Class”) pursuant

  to 29 U.S.C. § 216(b). The Class is composed of laborers whom Defendant

  failed to compensate for all overtime hours worked in accordance with the

  FLSA.

          29.   Therefore, Notice is properly sent to: “All laborers whom

  Defendant failed to compensate for all of the overtime hours that they

  worked from June 2018 to the present.”




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        30.    The total number and identities of the Class members may be

  determined from the records of Defendant, and the Class may easily and

  quickly be notified of the pendency of this action.

        31.    Plaintiff is similar to the Class because he and the Class have

  been unlawfully denied full payment of their overtime wages as mandated

  by the FLSA.

        32.    Plaintiff’s experience with Defendant’s payroll practices is

  typical of the experiences of the Class.

        33.    Defendant’s failure to pay all overtime wages due at the rates

  required by the personal circumstances of the named Plaintiff or of the

  Class is common to the Class.

        34.    Overall, Plaintiff’s experience as an Instrument Man who

  worked for Defendant is typical of that of the Class.

        35.    Specific job titles or job duties of the Class do not prevent

  collective treatment.

        36.    Although the issues of damages can be individual in character,

  there remains a common nucleus of operative facts concerning Defendant’s

  liability under the FLSA in this case.

               COUNT I – FLSA OVERTIME VIOLATIONS

        37.    Plaintiff realleges and readopts the allegations of Paragraphs 1

  through 36 of this Complaint, as though fully set forth herein. Plaintiff


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  brings this action on behalf of himself and all other similarly situated

  employees in accordance with 29 U.S.C. § 216(b). Plaintiff anticipates that

  as this case proceeds, other individuals will sign consent forms and join

  this collective action as plaintiffs.

         38.    During the statutory period, Plaintiff and the Class worked

  overtime hours while employed by Defendant, and they were not properly

  compensated for all of these hours under the FLSA.

         39.    Defendant failed to compensate Plaintiff and the Class for all

  of the overtime hours that Plaintiff and the Class worked.

         40.    The Members of the Class are similarly situated because they

  were all employed as laborers by Defendant, were compensated in the

  same manner, and were all subject to Defendant’s common policy and

  practice of failing to pay its laborers for all of the overtime hours that they

  worked in accordance with the FLSA.

         41.    This reckless practice violates the provisions of the FLSA,

  specifically 29 U.S.C. § 207(a)(1). As a result, Plaintiff and the Members of

  the Class who have opted into this action are each entitled to an amount

  equal to their unpaid overtime wages as liquidated damages.

         42.    All of the foregoing conduct, as alleged, constitutes a willful

  violation of the FLSA, within the meaning of 29 U.S.C. § 255(a).




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        43.   As a result of the foregoing, Plaintiff and the Class have

  suffered damages.

        WHEREFORE, Plaintiff and all similarly situated employees who

        join this collective action demand:

              (a)     Designation of this action as a collective action on behalf

                      of the Plaintiff and the prospective Class that he seeks to

                      represent, in accordance with the FLSA;

              (b)     Prompt issuance of notice pursuant to 29 U.S.C. §

                      216(b) to all similarly situated members of the FLSA

                      putative class, apprising them of the pendency of this

                      action and permitting them to assert timely FLSA claims

                      in this action by filing individual consent to sue forms

                      pursuant to 29 U.S.C. § 216(b);

              (c)     Equitable tolling of the statute of limitations from the

                      date of the filing of this complaint until the expiration of

                      the deadline for filing consent to sue forms under 29

                      U.S.C. § 216(b);

              (d)     Leave to add additional plaintiffs by motion, the filing of

                      written consent forms, or any other method approved

                      by this Court;




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             (e)   Judgment against Defendant for an amount equal to the

                   unpaid overtime wages of Plaintiff and of opt-in

                   Members of the Class at the applicable overtime rate;

             (f)   A declaratory judgment stating that the practices

                   complained of herein are unlawful under the FLSA;

             (g)   Judgment against Defendant for an amount equal to the

                   unpaid back wages of Plaintiff and of opt-in Members of

                   the Class at the applicable overtime rate as liquidated

                   damages;

             (h)   Judgment against Defendant, stating that its violations

                   of the FLSA were willful;

             (i)   To the extent liquidated damages are not awarded, an

                   award of prejudgment interest;

             (j)   All costs and attorney’s fees incurred in prosecuting

                   these claims; and

             (k)   For such further relief as this Court deems just and

                   equitable.




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                            JURY TRIAL DEMAND

         Plaintiff demands trial by jury as to all issues so triable.

         Dated this 30th day of June, 2021.



                                             Respectfully submitted,




                                             _______________________
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